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                       DECLARATION OF JEFERSON ESCALONA

I, Jeferson Escalona, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that
the following is true and correct.

   1. I came to the United States from Venezuela in March 2024 to seek asylum. I tried to get
      an appointment through CBP One, but after being unable to do so, I entered the country
      without inspection and turned myself in to U.S. authorities.

   2. In November 2024, I was detained in the Prairieland Detention Facility in Alvarado,
      Texas, before being sent to the El Paso Processing Center in January 2025. I had an order
      of deportation and was scheduled to appear in court on February 2025, but I did not have
      an attorney. I had been trying to save money to hire one before my detention, but I could
      not afford it.

   3. On February 8, 2025, I was transferred from El Paso Processing Center to Guantánamo
      Bay, Cuba. I was told I was being taken to Florida, but instead, they put me on a military
      plane and took me straight to Guantánamo. I had already seen on the news that other
      Venezuelans were being sent there, so when I realized I was on a military flight, I knew
      where I was going.

   4. When we arrived, the guards forced us to undergo a humiliating strip search. They said it
      was protocol, but it felt more like abuse. We were made to strip naked, go one by one into
      the shower, and spread our buttocks while they inspected us. The guards touched us
      during the search. One man refused to comply, and they stripped him down to his boxers
      and chained him to a chair.

   5. The conditions at Guantánamo were horrible. I was locked alone in a tiny cell with no
      window, no way to know if it was day or night. The lights were always on, making sleep
      nearly impossible. It was freezing, and all I had was a thin blanket. I was never given a
      mattress the entire time I was there.

   6. I was never let out of my cell, except twice for a shower. I was shackled and chained just
      to go wash myself. Others who had been there longer told me that when they were finally
      allowed outside, it wasn’t really outside. It was just another cage, within a larger cage,
      and they were still unable to speak to anyone.

   7. The food was awful, barely enough to survive, and it made me feel weak all the time, but
      I ate because I did not want to die of starvation. I lost about ten pounds in just a few days.

   8. I could not sleep. I went three nights without rest, no matter how exhausted I was. I asked
      for help, and they gave me pills, but they had no effect. One night, they gave me five
      pills, and I still could not sleep. I was consumed by fear, thinking I would never leave,
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       that I would never see my mother again. The isolation was unbearable. I stayed in bed all
       day, not speaking to anyone. It felt like I had already disappeared from the world.

   9. I was never given the opportunity to call my family or an attorney. I asked, and they told
      me there were no phones. Then they said maybe there would be phones the next week,
      but it was always an empty promise.

   10. On February 13 or 14, 2025, officers came to my cell in the morning and told me I was
       being taken back to the United States because my immigration case had been reopened. I
       was relieved—I felt like I was finally being returned to civilization. I was flown back to
       Texas alone, without any other detainees on the flight.

   11. Guantánamo was worse than any other detention facility. It was a maximum-security
       prison meant for terrorists. There was no movement, no way to speak to anyone, nothing
       but isolation. In the U.S., even in detention, I can walk around, talk to people, and have
       access to basic necessities. But in Guantánamo, there was nothing. It felt like they wanted
       us to disappear.

   12. Because I am currently in detention at Bluebonnet and without stable internet connection,
       I could not sign this declaration myself but gave consent to Talia Roma to sign on my
       behalf.


Executed on the 28th day of February, 2025 at El Paso, Texas.


/s/ Jeferson Escalona
Jeferson Escalona
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                 ATTESTATION AND CERTIFICATE OF TRANSLATION

       I, Talia Roma, certify that I am fluent in both English and Spanish. On February 28, 2025,

I personally spoke with Jeferson Escalona and read the foregoing declaration to him, translated

into Spanish faithfully and accurately, over the phone. Mr. Escalona affirmed that he understood

my translation and that the information in the above declaration is true and accurate.

       Due to Mr. Escalona being in detention, it was not possible to obtain a written signature

on the above declaration. In addition to confirming that the information in the above declaration

is true, Mr. Escalona also gave me verbal consent to sign on his behalf.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.



_______________________________
Talia Roma
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